Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 1 of 11




                      EXHIBIT A
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 2 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 3 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 4 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 5 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 6 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 7 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 8 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 9 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 10 of 11
Case 1:23-cv-23614-LFL Document 25-1 Entered on FLSD Docket 11/28/2023 Page 11 of 11
